    Case 1:19-cr-00869-ER Document 116 Filed 09/22/21 Page 1 of 15




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA


             v.                         19 Cr. 869 (ER)

NEIL COLE,

                    Defendant.




  MOTION AND MEMORANDUM OF LAW ON BEHALF OF NEIL COLE
 TO COMPEL THE GOVERNMENT TO IMMUNIZE CERTAIN WITNESSES


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Dated: September 22, 2021
      Case 1:19-cr-00869-ER Document 116 Filed 09/22/21 Page 2 of 15




                                             TABLE OF CONTENTS

PRELIMINARY STATEMENT .........................................................................................1
FACTUAL BACKGROUND ..............................................................................................2
ARGUMENT .......................................................................................................................6
I.        THE COURT SHOULD ORDER THE GOVERNMENT TO
          IMMUNIZE MR. FAMULAK AND MR. VENTRICELLI ...................................6
          A.         The Government is Using its Immunity Authority in a
                     Discriminatory Manner for Tactical Reasons. .............................................8
          B.         The Testimony of Mr. Famulak and Mr. Ventricelli Would Be
                     Material, Exculpatory, and Non-cumulative and is Not
                     Obtainable From Any Other Source ..........................................................10
CONCLUSION..................................................................................................................12
      Case 1:19-cr-00869-ER Document 116 Filed 09/22/21 Page 3 of 15




                                         TABLE OF AUTHORITIES

Cases                                                                                                            Page(s)

United States v. Dolah,
   245 F.3d 98 (2d Cir. 2001) ........................................................................................ 6, 9

United States v. Ebbers,
   458 F.3d 110 (2d Cir. 2006) .......................................................................... 7, 8, 10, 11

United States v. Morrison,
   535 F.2d 223 (3d Cir. 1976) .......................................................................................... 7

United States v. Quinn,
   728 F.3d 243 (3d Cir. 2013) .......................................................................................... 9

United States v. Stewart,
   907 F.3d 677 (2d Cir. 2018) .......................................................................................... 9

United States v. Todaro,
   744 F.2d 5 (2d Cir. 1984) .............................................................................................. 9

United States v. Turkish,
   623 F.2d 769 (2d Cir. 1980) ...................................................................................... 7, 9

United States v. Viloski,
   557 F. App’x 28 (2d Cir. 2014) ..................................................................................... 7

United States v. Westerdahl,
   945 F.2d 1083 (9th Cir. 1991) ................................................................................. 8, 10




                                                             ii
    Case 1:19-cr-00869-ER Document 116 Filed 09/22/21 Page 4 of 15




                This memorandum of law is submitted on behalf of Neil Cole in support of

his motion for an order directing that the government provide use immunity to defense

witnesses Dow Famulak and Ron Ventricelli. As demonstrated below, the government has

selectively immunized witnesses that it expects to provide testimony favorable to the

government but failed to immunize witnesses expected to provide testimony favorable to

the defense on the same issues. This selective grant of immunity is a violation of Mr.

Cole’s fundamental due process rights.

                            PRELIMINARY STATEMENT

                The government has immunized at least two witnesses whose anticipated

testimony aligns with the government’s theory of the case, but declined to immunize

similarly situated witnesses whose anticipated testimony contradicts the government’s

allegations and is exculpatory. The government’s selective and discriminatory use of its

immunity power for tactical reasons threatens to deprive Mr. Cole of a fair trial and should

not be permitted.

                The government alleges that Mr. Cole participated in a scheme to inflate

Iconix’s reported revenue and earnings through the use of so-called “round trip”

transactions.   In particular, the government alleges that, in connection with certain

international joint venture transactions, Iconix’s counterparty1 agreed to pay an inflated

buy-in purchase price for its interest in the joint venture, in exchange for an agreement by

Iconix to repay the alleged “overpayments” in the future.



1
       Iconix’s counterparty in the relevant joint venture transactions is referred to in the
       indictment as “Company-1.” The counterparty was Li & Fung, a Hong Kong-
       based conglomerate, or its spun-off subsidiary Global Brands Group (“GBG”).
       For simplicity, this memorandum refers to both of these entities as “GBG,” unless
       otherwise noted.
    Case 1:19-cr-00869-ER Document 116 Filed 09/22/21 Page 5 of 15




               Two former GBG executives with firsthand knowledge of the underlying

transactions, Dow Famulak and Ron Ventricelli, refute the government’s core allegations.

Both have told the government, in substance and in part, that there were no round trip

transactions, no inflated purchase prices and no commitment or obligation undertaken by

Iconix to pay back to GBG any portion of the purchase prices. Without the Court’s

intervention, the jury most likely will never hear this highly exculpatory testimony, because

Mr. Famulak and Mr. Ventricelli have indicated that they intend to invoke their Fifth

Amendment privileges if called to testify at trial, and the government is unwilling to grant

them immunity.

               By contrast, the government granted immunity to two other GBG witnesses,

Jason Rabin and Jared Margolis, after they provided information that more closely aligns

with the government’s narrative, and we expect that Mr. Rabin and Mr. Margolis will

testify at trial pursuant to a grant of immunity. The government has no proper basis to

withhold immunity from Mr. Famulak or Mr. Ventricelli, neither of whom is a credible

target of prosecution. To ensure that Mr. Cole receives a fair trial untainted by the

government’s tactical use of its immunity power, the Court should direct the government

to grant immunity to Mr. Famulak and Mr. Ventricelli.

                              FACTUAL BACKGROUND

               In October 2013, Iconix and GBG formed a joint venture (referred to in the

indictment as SEA-1) to license certain brands in a number of countries throughout

Southeast Asia. In June 2014 and September 2014, Iconix and GBG entered into two

amendments to that joint venture, which are referred to in the indictment as SEA-2 and

SEA-3, respectively.



                                             2
    Case 1:19-cr-00869-ER Document 116 Filed 09/22/21 Page 6 of 15




               With respect to SEA-2, the government alleges that, in June 2014, Iconix

“reached a secret, undocumented agreement with representatives of [GBG] that [GBG]

would inflate the buy-in purchase price to be paid to Iconix for [GBG]’s interest in the JV

by $5 million, from approximately $10.9 million to approximately $15.9 million, in

exchange for Iconix round-tripping approximately $5 million back to [GBG] in the form

of payments purportedly for marketing.” Indictment ¶ 22.

               With respect to SEA-3, the government alleges that, in September 2014,

Iconix “reached a secret agreement with representatives of [GBG] that [GBG] would

artificially inflate the buy-in purchase price it paid to Iconix by $6 million, from

approximately $15.5 million to approximately $21.5 million, in exchange for Iconix’s

commitment to reimburse [GBG] the $6 million overpayment” by “releasing” a GBG

affiliate, Kids Headquarters (“KHQ”), “of its royalty obligations” under a separate license

agreement with Iconix for Rocawear Kids brands. Indictment ¶ 29–31.

               During the relevant period, Mr. Rabin served as President of Li & Fung

subsidiary LF Asia and then as Chief Merchandising Officer of Li & Fung and GBG. Mr.

Margolis was Executive Vice President of Business Development & Licensing, first at LF

Asia’s Fashion and Home division, and then at GBG.

               In March 2019, the FBI approached each of Mr. Rabin and Mr. Margolis

and questioned them about the joint venture transactions with Iconix. Mr. Rabin stated that

GBG did not overpay for any joint ventures, and neither witness recalled any purported

round trip transactions. During subsequent proffers with the government, however, Mr.

Rabin and Mr. Margolis made statements supportive of the government’s theory of the




                                            3
     Case 1:19-cr-00869-ER Document 116 Filed 09/22/21 Page 7 of 15




case.2 In October 2019, the government obtained immunity orders and compelled Mr.

Rabin and Mr. Margolis to testify before the grand jury pursuant to a grant of immunity.

               In October and November 2019, the government also interviewed Mr.

Famulak and Mr. Ventricelli and received attorney proffers from their counsel. Both of

these witnesses informed the government that there were no overpayments by GBG and no

agreements by Iconix to repay any portion of the joint venture purchase prices to GBG.

With respect to SEA-2, they stated that the payment of marketing expenses by Iconix was

not the result of a prior commitment by Iconix to reimburse GBG for an alleged

overpayment, and they identified the actual reasons – explained to them by Mr. Rabin, a

government witness – why GBG agreed to increase the purchase price from approximately

$10.9 million to approximately $15.9 million.

               Among other things, Mr. Famulak’s attorney told the government, with

respect to SEA-2, that:

                   •   “[GBG] determined it could not go forward with the Lee Cooper
                       aspect of deal […] Dow’s recollection was that this caused problem
                       for Iconix. Iconix not happy to do the deal for less than they
                       originally thought they would do the deal for, without the Lee
                       Cooper piece. Dow recalls discussing with Rabin whether deal
                       would still make sense at price higher than 10.9. Dow understood
                       that in light of the put option and additional guarantees, they could
                       do deal even at 15.9M price.” Notes of October 22, 2019 Attorney
                       Proffer at 2, Production No. 3528-001 (attached as Exhibit A).

                   •   “During their conversations about the deal and the purchase price,
                       Rabin said something about GBG being able to charge Iconix for
                       marketing expenses. Dow thought Rabin could get Iconix to pay
                       some amount for marketing. But whether they could do so, from
                       Dow’s perspective, was based on how well the brands did going
                       forward. So he did not understand this to be a specific feature of deal

2
    Based on the government’s 3500 materials, it appears that in addition to their initial
    FBI interviews and grand jury appearances, Mr. Rabin and Mr. Margolis have each
    met with or spoken to the government on at least four occasions.

                                              4
Case 1:19-cr-00869-ER Document 116 Filed 09/22/21 Page 8 of 15




               that was approved. […] From his perspective, marketing was not a
               specific term of deal. It was something they talked about and hoped
               to achieve.” Exhibit A at 2–3.

           •   “The put options and guarantees got the [Investment Committee]
               comfortable with the deal, and not marketing expenses.” Exhibit A
               at 3.

        Mr. Famulak subsequently told the government that:

           •   “Famulak was not aware of an understanding where the [SEA-2]
               purchase price increased by $5 million and was given back to GBG
               through transactions papered as marketing expenses.” Notes of
               November 22, 2019 Interview at 5, Production No. 3528-003
               (attached as Exhibit B).

           •   “Famulak was comfortable with the increased consideration [for
               SEA-2] because GBG had just purchased a brand business called
               Cocoban that was only in Korea. He said it was a great platform.”
               Exhibit B at 7.

           •   “He did not recall a connection between [SEA-3] and KHQ. He was
               not aware of a purchase price increase for a commitment to relax
               money owed to Iconix.” Exhibit B at 7.

        Similarly, Mr. Ventricelli told the government that:

           •   “The consideration that Rabin got for the [SEA-2] deal value change
               was consideration for guarantees going forward for the Lee Cooper
               deal. There were several types of guarantees: the royalty stream,
               the commitment to increase the Put/Call floor of the transaction, and
               the guarantee to do the Lee Cooper deal. The marketing piece was
               settled, that was done, but the increase in value in this transaction
               was the lock up of Lee Cooper, and the guarantees in royalty
               streams.” Notes of November 5, 2019 Interview (FBI 302) at 13,
               Production No. 3593-001 (attached as Exhibit C).

           •   “The marketing was not related to the purchase of this JV. The
               marketing was a separate thing that Rabin was working on, where
               he tried and get money back for prior marketing.” Exhibit C at 13.

           •   “Ventricelli did not recall any conversations about an increase of $5
               million on the purchase price in exchange for marketing invoices
               being sent from GBG to Iconix. The basis of the transaction was
               not built that way.” Exhibit C at 14.



                                     5
     Case 1:19-cr-00869-ER Document 116 Filed 09/22/21 Page 9 of 15




                   •   “GBG recorded a capital investment of $15.9 million for this [SEA-
                       2] deal. GBG were paying for the value of the right to get Lee
                       Cooper. Ventricelli did not recall if the Lee Cooper deal ever
                       happened. If they were doing GAAP accounting, and not IFRS
                       accounting, they could still record it for the $15.9 increased price,
                       because there was value that GBG was getting from it. Ventricelli
                       didn’t view it as an inducement, but rather as the value for what the
                       next deal was going to give them.” Exhibit C at 15.

               Mr. Famulak was the President of Li & Fung subsidiary LF USA and, later,

GBG and was a member of the Investment Committee that approved each of the joint

venture transactions. Mr. Rabin, Mr. Margolis, and Mr. Ventricelli all reported to him.

Mr. Ventricelli was the Executive Vice President of Finance and Operations at LF USA

and, later, the Chief Operating Officer of GBG. Mr. Ventricelli also served on the GBG

Investment Committee.

               Counsel for Mr. Famulak and Mr. Ventricelli have informed us that, if

called to testify at trial, both witnesses will invoke their Fifth Amendment privilege and

refuse to testify. We therefore asked the government whether it would be willing to

immunize Mr. Famulak and Mr. Ventricelli in order to facilitate their testimony at trial,

and the government declined to do so. We anticipate that the government will grant use

immunity to both Mr. Rabin and Mr. Margolis for their testimony at trial.

                                      ARGUMENT

I.     THE COURT SHOULD ORDER THE GOVERNMENT TO IMMUNIZE
       MR. FAMULAK AND MR. VENTRICELLI

               The Second Circuit has “recognize[d] the essential unfairness of permitting

the Government to manipulate its immunity power to elicit testimony from prosecution

witnesses who invoke their right not to testify, while declining to use that power to elicit

from recalcitrant defense witnesses testimony.” United States v. Dolah, 245 F.3d 98, 106

(2d Cir. 2001), abrogated on other grounds by Crawford v. Washington, 541 U.S. 36

                                             6
    Case 1:19-cr-00869-ER Document 116 Filed 09/22/21 Page 10 of 15




(2004). District courts therefore have the authority to direct the government to grant use

immunity to a defense witness and, if the government does not comply, dismiss the

indictment. See United States v. Ebbers, 458 F.3d 110, 119 (2d Cir. 2006). This “carrot-

and-stick approach . . . leav[es] the immunity decision to the executive branch but

interpos[es] the judicial power to subject the government to certain choices of action.”

Dolah, 245 F.3d at 105 n.5 (quotation omitted). There are circumstances (albeit rare) when

“denial of defense witness immunity” will “unfairly thwart” a trial’s search for the truth.

United States v. Turkish, 623 F.2d 769, 774 (2d Cir. 1980)

               To demonstrate that defense witness immunity is appropriate, a defendant

must make a two-pronged showing.

               First, the defendant must show that the government has used
               immunity in a discriminatory way, has forced a potential witness to
               invoke the Fifth Amendment through ‘overreaching,’ or has
               deliberately denied immunity for the purpose of withholding
               exculpatory evidence and gaining a tactical advantage through
               such manipulation . . . . Second, the defendant must show that the
               evidence to be given by an immunized witness will be material,
               exculpatory and not cumulative and is not obtainable from any
               other source.

Ebbers, 458 F.3d at 119 (emphases added; quotations and citations omitted).

               Although the Second Circuit has observed that it has yet to find that a

district court abused its discretion by denying a defense motion to compel immunity, see

United States v. Viloski, 557 F. App’x 28, 34–35 (2d Cir. 2014) (quoting United States v.

Ferguson, 676 F.3d 260, 291 (2d Cir. 2011)), we are not aware of any instance in which

the Court held that a district court abused its discretion by granting such relief. Indeed,

the Second Circuit repeatedly has affirmed the authority of district courts to compel defense

witness immunity, and courts in other circuits have vacated convictions based on the

government’s failure to immunize potential defense witnesses. See, e.g., United States v.

                                             7
    Case 1:19-cr-00869-ER Document 116 Filed 09/22/21 Page 11 of 15




Morrison, 535 F.2d 223, 229 (3d Cir. 1976) (holding that “[t]here are circumstances under

which it appears due process may demand that the Government request use immunity for

a defendant’s witness” and ordering a new trial at which a key defense witness must be

immunized or a judgment of acquittal entered); United States v. Westerdahl, 945 F.2d

1083, 1086–87 (9th Cir. 1991) (vacating conviction and remanding to district court for an

evidentiary hearing on “whether the government intentionally distorted the fact-finding

process” by immunizing witnesses whose testimony inculpated the defendant but refusing

to immunize an exculpatory witness who contradicted the others). This case presents

circumstances in which the fact-finding process will be unfairly and impermissibly

distorted if the government is permitted to selectively immunize witnesses.

       A.      The Government Is Using Its Immunity Authority in a Discriminatory
               Manner for Tactical Reasons.

               With regard to the first prong of the Ebbers standard, “a discriminatory

grant of immunity arguably may be no more than ‘a decision to confer immunity on some

witnesses and not on others.’” Ebbers, 458 F.3d at 119 (quoting Dolah, 245 F.3d at 105-

06). “The ‘manipulation’ standard overlaps to a degree with the discrimination test but

involves an express finding of a tactical purpose on the government’s part.” Id. (citing

Blissett v. Lefevre, 924 F.2d 434, 442 (2d Cir.1991)).

               In this case, the government improperly is attempting to use its immunity

authority to gain a tactical advantage – namely, to facilitate trial testimony it deems helpful

to its case while preventing the presentation of exculpatory evidence to the jury by

reserving the theoretical threat of potential prosecution for purely tactical purposes. There

is no other plausible explanation for the government’s differing approach to Mr. Rabin and

Mr. Margolis, on the one hand, and Mr. Famulak and Mr. Ventricelli, on the other. The


                                              8
    Case 1:19-cr-00869-ER Document 116 Filed 09/22/21 Page 12 of 15




only meaningful distinction between these two sets of witnesses is whether their testimony

inculpates or exculpates Mr. Cole, and that is not a proper basis on which to confer or

withhold immunity. See Dolah, 245 F.3d at 106 (cautioning that “using the immunity

device in a one-sided manner can result in a basic unfairness that rises to the level of a

violation of due process”); see also United States v. Quinn, 728 F.3d 243, 259 (3d Cir.

2013) (“If there were a governmental reason, unrelated to the defendant’s trial, for refusing

immunity, we would not interfere with that decision. If, however, the Government had no

strong reason to keep exculpatory testimony from trial, we could overturn a resulting

conviction.”) (citing Turkish, 623 F.2d at 777).

               Courts have permitted the government to withhold immunity when the

witness is “an actual or potential target of prosecution.” Turkish, 623 F.2d at 778; United

States v. Stewart, 907 F.3d 677, 685 (2d Cir. 2018); United States v. Todaro, 744 F.2d 5,

7 (2d Cir. 1984). In Stewart, for example, the Second Circuit found no due process

violation where the district court denied a defense motion to compel immunity for a co-

conspirator who had been arrested for participating in the alleged scheme with the

defendant, see 907 F.3d at 685; and it similarly found no due process violation in Todaro

where the government had submitted “an affidavit of the prosecutor indicating the extent

of the then existing evidence of possible criminal activity by each of the prospective

defense witnesses and representing that any grant of immunity to either witness might

impede future prosecutions,” 744 F.2d at 7.

               Here, by contrast, there can be no credible claim that Mr. Famulak or Mr.

Ventricelli is a target of prosecution. The government did not even identify Mr. Famulak

or Mr. Ventricelli among a list of alleged co-conspirators. See January 10, 2020 Letter



                                              9
    Case 1:19-cr-00869-ER Document 116 Filed 09/22/21 Page 13 of 15




from Government at 3 (attached as Exhibit D). In addition, the government has entered

into tolling agreements with a number of other witnesses in this case, presumably to

preserve its ability to file charges after the expiration of the statute of limitations, but to

our knowledge did not enter into tolling agreements with Mr. Famulak or Mr. Ventricelli,

confirming that the government does not have any genuine intention of prosecuting either

witness. Given that the underlying transactions at issue in this case took place in 2013 and

2014, it is unlikely that the government even could charge either witness at this point.

       B.      The Testimony of Mr. Famulak and Mr. Ventricelli Would Be
               Material, Exculpatory, and Non-cumulative and Is Not Obtainable
               from Any Other Source.

               With regard to the second prong of the Ebbers standard, “exculpatory

evidence is material when it tends to show that the accused is not guilty.” Ebbers, 458

F.3d at 119 (quotation omitted). “The bottom line at all times is whether the non-

immunized witness’s testimony would materially alter the total mix of evidence before the

jury.” Id.; see also Westerdahl, 945 F.2d at 1086 (“[A] defendant need not show that the

testimony sought was either ‘clearly exculpatory’ or ‘essential to the defense’; the

testimony need be only relevant.”).

               The testimony of Mr. Famulak and Mr. Ventricelli would be material and

exculpatory, and would directly refute the central premise of the government’s theory. The

government’s case relies on the existence of an alleged agreement by GBG to pay an

inflated buy-in purchase price, in exchange for a commitment or obligation undertaken by

Iconix to repay the allegedly inflated amount. Based on their statements to the government,

Mr. Famulak and Mr. Ventricelli would testify that there was no such agreement, that GBG

did not pay inflated purchase prices, and that there was no commitment or obligation

undertaken by Iconix to make future payments to GBG. They also would explain the

                                              10
    Case 1:19-cr-00869-ER Document 116 Filed 09/22/21 Page 14 of 15




actual, legitimate reasons why GBG agreed to pay an increased purchase price for its

interest in SEA-2. Further, their testimony would contradict that of the GBG witnesses

expected to be called by the government, including Mr. Rabin and Mr. Margolis. It cannot

reasonably be disputed that the testimony of Mr. Famulak and Mr. Ventricelli would be

exculpatory and “affect[] the total mix of evidence before the jury.” Compare Ebbers,

458 F.3d at 120-122 (holding that there was “no abuse of discretion in denying Ebbers’

requests” when Ebbers “ha[d] not shown that the absence of testimony by [defense

witnesses] affected the total mix of evidence before the jury”).

               Their testimony also would be non-cumulative and is unobtainable from any

other source. Mr. Famulak and Mr. Ventricelli were senior executives of the entities that

entered into the joint ventures at issue, and they served on the Investment Committee that

evaluated and ultimately approved the transactions (including the purchase price). They

are uniquely positioned to testify about the terms of the agreements and the basis for GBG

agreeing to pay the purchase prices at issue. Mr. Ventricelli is also uniquely positioned to

testify about GBG’s accounting for the transactions. He told the government, for example,

that GBG (a publicly traded company) determined its accounting treatment for the SEA-2

transaction based on the full $15.9 million purchase price (just as Iconix did).

               In addition, Mr. Famulak and Mr. Ventricelli spoke directly with Mr. Cole

concerning at least one of the transactions, and they spoke with Mr. Rabin regarding both

the SEA-2 and SEA-3 transactions. Their anticipated testimony would contradict Mr.

Rabin’s account in significant ways. Mr. Rabin is expected to testify, for example, that he

told Mr. Famulak and Mr. Ventricelli about the alleged agreements to pay increased

purchase prices in exchange for supposed “give backs.” Mr. Famulak and Mr. Ventricelli



                                             11
    Case 1:19-cr-00869-ER Document 116 Filed 09/22/21 Page 15 of 15




told the government that Mr. Rabin provided other, lawful explanations for the price

increase. There are no other witnesses who can testify to the communications between Mr.

Rabin, on the one hand, and Mr. Famulak and Mr. Ventricelli, on the other.

               In sum, this case presents the rare circumstances in which defense immunity

is necessary to ensure a fair trial. The government has no proper basis to withhold

immunity from Mr. Ventricelli or Mr. Famulak, and unless the Court intervenes, the

defense most likely will be unable to present this material and highly exculpatory evidence

to the jury.

                                    CONCLUSION

               For all of these reasons, we respectfully request that the Court direct the

government to grant use immunity to Dow Famulak and Ron Ventricelli.


Dated: September 22, 2021
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                                            12
